Case 1:13-cV-03127-PKC Document 347

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________________________________ X
RICK HARRISON, et al.,

Plaintiff,
-against-
REPUBLIC OF SUDAN,

Defendant.
___________________________________________________________ X
RICK HARRISON, et al.

Petitioners,

-against-

AMERlCAN EXPRESS TRAVEL RELATED
SERVICES, CO.; BANCO DO BRASIL, S.A.;
BANK OF AMERICA; BANK OF BARODA,
NEW YORK BRANCH; BANK OF CHINA,
NEW YORK BRANCH; BANK OF NEW YORK
MELLON; BANK OF TOKYO - MITSUBISHI
UF.T TRUST COMPANY; BARCLAYS BANK
PLC; CITIGROUP INC.; COMMERZBANK AG;
CREDIT AGRICOLE CORPORATE &
INVESTMENT BANK; CREDIT SUISSE
SECURITIES (USA) LLC; DEUTSCH BANK AG
NEW YORK; DEUTSCHE BANK TRUST CO.

- AMERICAS; DOHA BANK; FEDERAL
RESERVE BANK OF NEW YORK; HABIB
AMERICAN BANK; HSBC BANK, USA, N.A.;
INTERAUDI BANK; IN'I`ESA SANPAOLO
S.P.A.; JP MORGAN CHASE & CO.; PNC
BANK, N.A.; RBS CITIZENS, N.A.; SOCIETE
GENERALE; STANDARD CHARTERED
BANK; STATE BANK OF INDIA; SUMITOMO
MITSUI BANKTNG CORP.; TI-IE ROYAL BANK
OF SCOTLAND N.V.; UNITED BANK
LIMITED; WELLS FARGO BANK, N.A.,

Respondents/Garnishees.
__________________________________________________________________ X

Filed 03/12/15 Page 1 of 2

13-cv-3127 (PKC)

ORDER

 

 

USDS SDNY
DOCUMENT

ELECTRON!CALLY FH.ED
DOC #:
DATE FILED: 3 -/£ '/J'

 

 

 

 

 

 

 

Case 1:13-cV-03127-PKC Document 347 Filed 03/12/15 Page 2 of 2

CASTEL, U.S.D.J.

This Court’s May 15, 2014 Order With Respect to Giving Notice of Turnover
Proceeding (“Notice Order”) set forth procedures for notifying and/or joining third parties who
may claim an interest in the blocked assets held at certain respondent banks and soughth
petitioners to enforce a judgment against the Republic of Sudan. (Dkt. 120.) Paragraph 9 of the
Notice Order authorized respondent banks to file interpleader petitions against third party
claimants to certain of the assets at issue in this proceeding (Li) If a third party respondent has
been properly served and has failed to respond, third party petitioners shall apply for a certificate

of default Within 14 days of this Order and move for a default judgment within 21 days

so oRDERBD. /W

y P. l%vin Castel
United States District Judge

thereafter.

Dated: New Yorl<, New York
March 12, 2015

